Case 18-20031-LMI Doc 32 Filed 10/24/18 Pagelof3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

Pf), Original Plan
[a] 2nd a Amended Plan (Indicate Ist. 2nd, ete. Amended, if applicable)
[| - ____ Modified Plan (Indicate Ist, 2nd, ete. Modified, if applicable)
DEBTOR; Maykel Y Portal JOINT DEBTOR: i CASE NO. 18-2003F
SS! XXX-Xx= 2609 SSH XXX-XX- °
i, NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. Al! plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2, Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case Lo chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim mar
be reduced, modified or eliminated.

To All Parties: = The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must cheek one
box on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section TI]. which may result ina Cy

 

Not tnucluded

 

 

 

 

[
| Included
partial payment or no payment at all to the secured creditor — smsessousgeall corceccneccompres soecrecesrece
Avoidance of a judicial lien or nonpossessory, nonpurchase- money “secur ity ‘interest, set a
out in Section III _ oe [ | Included Not includes!
Nonstandar d provisions, set out in Section VIII | ) “Included Not included
PLAN PAYMENTS, LENGTH OF PLAN AND DEB’ FORIS)' ATT ORNEY' SE i i *

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the ereditors the amounts listed below, including trust. .'
fees of 10%, beginning 30 days from the filing‘conversion date. [In the event the trustee does not retain the full 10%. any unused
amount will be paid to unsecured nonpriorily creditors pro-rata under the plan:

 

1, $92.58 ss formonths— | to J2 =;
2. $99.85 formonths 13 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: Cl NONE A PRO BONO _
Total Fees: «$3000.00 ~—=——sTotal Paid: ~—=——$2000.00 = BalanceDue: «$1000.00
Payable $83. 33 _ fmonth (Months 1 to 12 )

Allow wi? fees under LR 3016- I(B)(2) are itemized below:
$3,000 Chapter 13 Case

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation, e
ill. TREATMENT OF SECURED CLAIMS

A. SECURFD CLAIMS: [fi] NONE

[Retain Liens pursuant to 11 U.S.C. $1325 (a)(S)] Mortgage(s)/Lien on Real or Personal Property:

B. VALUATION OF COLLATERAL: [ig] NONE

C. LIEN AVOIDANCE. [ial] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
[fm] NONE

EF. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.
[-] NONE

LL-31 (rev, 10/3/17) Page |of3
Case 18-20031-LMI Doc 32 Filed 10/24/18 Page2of3

Debtor(s): Maykel Y Portal / _  , Case number: | §-2003 |

[wi] The debtor(s) elect to make payments directly to each secured credilor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to anv
cadebtor(s) as to these creditors, Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract mei
Name of Creditor Last 4 Digits of AccountNo, Description of Collateral (Address, Vehicle, ete.)

Pennymac f.oan Services $366 6740 SW 16 Street

_..Miami, FI. 33155 __

iV, TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. $507 and 11 ULS.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [Bi] NONE
B. INTERNAL REVENUE SERVICE: [ii] NONE

D. OTHER: [a] NONE

Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay _ $89.85 /month (Months 13. to 60 )
Pay ‘month (Months tos)

*

Pro rata dividend will be calculated by the Trustee upon review of filed claims afler bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: — [il] NONE
*Debtor(s) certify the separate classification(s) of the claini(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to [1 U.S.C. § 1322,
Vi. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relict i this
section shall not reecive a distribution from the Chapter 13 Trustee.
[-] NONE
fi] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic si be
terminated in rem as to the debtor(s) and in rem and in personam as to any codvbtor(s) as to these creditors/lessors. Nothin

herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
Name of Creditor Collateral Acct, No. (Last 4 Digits) Assume’Reject

Assume [-] Rejeet
t

Lincoln Automotive Fin 2016 Lincoln MIX 4532

 

Vil, INCOME TAX RETURNS AND REFUNDS: [_] NONE
[@] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(1) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of cach ycar the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross houschold income
increases by more than 3% over the previous year’s income. [Miami cases]
VII, NON-STANDARD PLAN PROVISIONS NONE

Lb -3}rew 103/17) Page 2 of 3
Case 18-20031-LMI Doc 32 Filed 10/24/18 Page 3of3

Debtor(s): Maykel Y Portal Case number: 18-2003 1

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

 

| declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
‘s Maykel Y Portal Debtor = 1 0/24;2018 Joint Debtor
Maykel Y Portal Date Date
t
-s Ricardo Corona, Esq. «0/24/2018

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

Eh-3h (res 10/317) Page 3 of 3
